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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9
         ATM SHAFIQUL KHALID; XENCARE
10
         SOFTWARE, INC.,
11

12                                    Plaintiffs,           Wash. Superior Court, King County
                                                            Case No. 19-2-02755-0 SEA
13                     v.
14                                                          NOTICE OF REMOVAL OF ACTION,
         MICROSOFT CORPORATION, a                           UNDER 28 U.S.C. §§ 1331, 1338(A),
15       Washington Corporation,                            1338(B), 1441, 1446, AND 1454(A)
16
                                    Defendant.
17                                                          COMPLAINT FILED: JAN. 28, 2019
18                                                          SAC FILED:       NOV. 20, 2023

19                                                          RELATED CASES:
20                                                          2:19-CV-00130-RSM; 2:24-CV-448

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24       TO THE CLERK OF THE ABOVE-ENTITLED COURT:

25              PLEASE TAKE NOTICE that pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1338(a), 28

26       U.S.C. § 1338(b), 28 U.S.C. § 1441, 28 U.S.C. § 1446, and 28 U.S.C. § 1454(a), defendant

     2 NOTICE OF REMOVAL                                1            BRADLEY BERNSTEIN SANDS LLP
         MICROSOFT CORP. V. KHALID, ET AL.                             2800 FIRST AVENUE, SUITE 326
 7                                                                          SEATTLE, WA 98121
         CASE NO. _______                                                        206.337.6551
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 1       Microsoft Corporation (Microsoft), by its undersigned attorneys, hereby removes the

 2       above-captioned civil action, and all claims and causes of action therein, from the

 3       Superior Court of Washington, King County, to the United States District Court for the

 4       Western District of Washington at Seattle. Microsoft states as follows:

 5                              FACTUAL AND PROCEDURAL BACKGROUND

 6       1.     On January 28, 2019, plaintiffs ATM Shafiqul Khalid (“Khalid”) and Xencare

 7       Software, Inc. (“Xencare”) (collectively, “Plaintiffs”) filed an action against Microsoft

 8       in the Washington Superior Court, King County, entitled “ATM SHAFIQUL KHALID,

 9       an individual and on behalf of similarly situated, Xencare Software, Inc., Plaintiff, v.

10       MICROSOFT CORPORATION, a Washington Corporation, One Redmond Way,

11       Redmond, Washington, Defendant,” case number 19-2-02755-0 SEA (“Khalid v.

12       Microsoft”).

13       2.     Attached hereto as Exhibit A is the operative complaint served on Microsoft in

14       Khalid v. Microsoft, the Second Amended Complaint filed on November 20, 2023 (as

15       corrected on November 30, 2023).

16       3.     The Second Amended Complaint (SAC) alleges four causes of action: Breach of

17       Contract, Breach of the Covenant of Good Faith and Fair Dealing, Washington

18       Consumer Protection Act (RCWA 19.86.020), and Declaratory Judgment.1 As alleged in

19       the SAC, Khalid v. Microsoft is a case about whether Microsoft can claim ownership of

20       three patents, U.S. Patent Nos. 8,286,219; 8,782,637; and 10,846,118 (“the Disputed

21       Patents”), pursuant to an employment agreement between Microsoft and Khalid.

22       Plaintiffs’ Jury Request in that case is attached as Exhibit B.

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                The Declaratory Judgment cause of action is pled as two separate counts
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         (Counts IV and V).
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 1       4.     On March 15, 2024, Plaintiffs served two expert reports in Khalid v. Microsoft by

 2       W. Anthony Mason (“Mason”) and Scott Cragun (“Cragun”). Those expert reports,

 3       for the very first time in the state court litigation, squarely alleged patent infringement

 4       by Microsoft as a source of liability in the state court action and requested over $500

 5       million in patent royalty damages based on assumed infringement and validity of the

 6       Disputed Patents.

 7       5.     The Mason expert report opining that Microsoft (as well as Sony, Amazon, and

 8       Nvidia) infringes patents over which Plaintiffs claim ownership is attached as Exhibit

 9       C. Before being served with the Mason Report, Microsoft had no reason to know that

10       Plaintiffs’ state court breach of contract or related causes of action were dependent on

11       federal patent infringement law as a basis for liability. This was also the first time it

12       was clear that Plaintiffs are requesting that the jury find that Microsoft infringed

13       claims of the Disputed Patents (without considering any patent defenses that

14       Microsoft would be entitled to raise in the course of a patent infringement suit) in the

15       course of rendering its verdict in Khalid v. Microsoft. Stated another way, Plaintiffs’

16       expert reports make clear they seek to obtain damages for patent infringement (an

17       exclusively federal claim) without having to prove infringement under 35 U.S.C. § 271.

18       This claim is preempted by federal law, and is subject to the exclusive jurisdiction of

19       federal courts.

20       6.     The Cragun expert report is attached as Exhibit D. Before being served with

21       the Cragun Report, Microsoft had no notice that Plaintiffs were seeking damages

22       premised on a finding of infringement of valid patents by Microsoft.

23       7.     Because ascertaining patent infringement under 35 U.S.C. § 271 was not

24       previously necessary to resolve the issues in this case, the state court did not have a

25       reason to construe the claims of the Disputed Patents or ascertain whether Microsoft

26       infringes, nor can it under 28 U.S.C. § 1338(a) (“No State court shall have jurisdiction

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 1       over any claim for relief arising under any Act of Congress relating to patents, plant

 2       variety protection, or copyrights.”). As such, Microsoft will not have any opportunity

 3       to fairly develop its defenses in state court, including that the Disputed Patents are not

 4       infringed under 35 U.S.C. § 282(b)(1). Further, no fact discovery has been taken on

 5       patent infringement claims or defenses, and no expert discovery has been taken on

 6       these issues, aside from the newly-filed expert reports assuming that Microsoft

 7       infringes the patents over which Plaintiff claims exclusive ownership, and seeking

 8       damages on that basis.

 9       8.     These same newly filed expert reports additionally seek damages against

10       Microsoft based on alleged infringement of the Disputed Patents by non-party

11       corporations Amazon, Sony, and Nvidia. Those third parties’ rights to defend their

12       products against allegations of infringement, including through the required claims

13       construction process, have not—and cannot—be adjudicated by the state court in

14       Khalid v. Microsoft. Yet these forward-looking patent claims are likely to be influenced

15       by any patent infringement findings made by the state court in this action.

16       9.     On April 3, 2024, Microsoft filed a Complaint for Declaratory Judgment in this

17       Court, Case No. 2:24-cv-448, seeking a declaration of non-infringement as to the

18       Disputed Patents, (“Declaratory Judgment Action”). Microsoft intends to seek relation,

19       coordination, and/or consolidation of this case with the Declaratory Judgment Action.

20                             JURISDICTION AND AUTHORITY FOR REMOVAL

21       10.    To assess whether Microsoft (and other non-party corporations in follow-on

22       cases) in fact infringe the Disputed Patents, the parties would need to engage in

23       discovery related to the proper construction of the claims at issue, and the court would

24       need to engage in claim construction of the Disputed Patents. Any claim construction

25       in Khalid v. Microsoft could potentially have a res judicata effect not only on litigation

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 1       brought by or against Microsoft, but also in future cases alleging that non-parties

 2       Sony, Amazon, or Nvidia infringe the Disputed Patents.

 3       11.    Plaintiffs contend, through the Mason Report and Cragun Report, that

 4       Microsoft and other non-party corporations in fact infringe one or more claims of the

 5       Disputed Patents. Accordingly, the court and/or jury in Khalid v. Microsoft would also

 6       have to compare every limitation set forth in each of the asserted claims to the features

 7       of the accused products, methods, or systems to assess these infringement claims. This

 8       analysis could have a res judicata effect on future litigation with Microsoft and could

 9       inform future cases alleging that non-parties infringe the claims of the Disputed

10       Patents.2

11       12.        This removal is timely under 28 U.S.C. §§ 1446(b)(3), as removal is taken

12       fewer than 30 days after Microsoft ascertained that the case became removable (on

13       March 15, 2024 when, for the first time, Plaintiffs put Microsoft on notice that their

14       case relied on a necessary finding of patent infringement against Microsoft and that

15       other non-party corporations were believed to infringe as well).

16       13.    This Court has original jurisdiction over Count I (the Washington Consumer

17       Protection Act), Count II (breach of contract), and Count III (breach of good faith and

18       fair dealing) in this action under 28 U.S.C. 1331, 28 U.S.C. § 1338(a), and 28 U.S.C. §

19       1454(a) as the Plaintiffs in Khalid v. Microsoft assert claims for relief arising under

20       federal patent law. In addition, this Court has jurisdiction over Count I under 28

21       U.S.C. § 1338(b)( “[t]he district courts shall have original jurisdiction of any civil action

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                2
                  The state court Khalid v. Microsoft litigation has not afforded Microsoft the
24       opportunity to assert any defenses against patent infringement; no discovery has been
25       taken on patent issues and any findings regarding patent infringement defenses are
         also likely to impact future cases related to the Disputed Patents as against allegedly
26
         infringing companies not party to this litigation.
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 1       asserting a claim of unfair competition when joined with a substantial and related

 2       claim under the copyright, patent, plant variety protection or trademark laws”),

 3       because the Washington Consumer Protection Act prohibits “[u]nfair methods of

 4       competition and unfair or deceptive acts or practices in the conduct of any trade or

 5       commerce.” (RCWA 19.86.020.)

 6       14.    This Court also has supplemental jurisdiction over Counts IV and V

 7       (declaratory judgment) under 28 U.S.C. § 1441 because those causes of action are so

 8       related to Counts I-III that they form part of the same case or controversy under

 9       Article III of the United States Constitution. 28. U.S.C. § 1367. Counts IV and V seek

10       declaratory judgment as to aspects of the very contract that forms the basis for Counts

11       I-III, and resolution of those counts relies on interpretation of that contract.

12       15.    The newly-filed expert reports, in seeking damages against Microsoft for

13       alleged infringement by non-party corporations Amazon, Sony, and Nvidia “raise the

14       real world potential for subsequently arising infringement suits affecting other

15       parties” Jang v. Bos. Sci. Corp., 767 F.3d 1334, 1337 (Fed. Cir. 2014), and therefore

16       should be adjudicated in federal—not state— court.

17       16.    Under disputes like this one, in which Plaintiffs seek state court resolution of

18       underlying issues of infringement, there exists the strong possibility that the patentee

19       would file suits alleging infringement by others and could risk inconsistent judgments.

20       17.    Jurisdiction over such contractual disputes to avoid such conflicting rulings is

21       important to “the federal system as a whole” and not merely “to the particular parties

22       in the immediate suit.” Gunn v. Minton, 568 U.S. 251, 260, 133 S. Ct. 1059, 1066, 185 L.

23       Ed. 2d 72 (2013).

24       18.    The Western District of Washington, at Seattle, encompasses King County,

25       Washington. All parties to the underlying state court action are residents of

26       Washington State, and reside or have their principal place of business in King County.

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 1             NOTICE TO PLAINTIFF AND SUPERIOR COURT OF REMOVAL OF CIVIL ACTION

 2       19.    Microsoft will promptly serve a copy of this Notice of Removal on counsel for

 3       Plaintiffs and will file a copy of this Notice of Removal with the Clerk of the Superior

 4       Court for King County, pursuant to 28 U.S.C. § 1446(d).

 5
         Dated: April 3, 2024
 6

 7                                                           s/Heidi B Bradley
                                                         Heidi B. Bradley, WSBA No. 35759
 8
                                                         BRADLEY BERNSTEIN SANDS LLP
 9                                                       2800 First Avenue, Suite 326
                                                         Seattle, WA 98121
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22                                                       Hac Vice Forthcoming
23
                                                         Attorneys for Defendant Microsoft Corp.
24

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 1                                        CERTIFICATE OF SERVICE
 2

 3              I hereby certify that on April 3, 2024, I electronically served the foregoing on the
         following participants:
 4

 5

 6              ATM Shafiqul Khalid (atmkhalid@gmail.com)
                17446 NE 28th St.
 7              Redmond, WA 98052
 8              (425)445-7157

 9              Mark Walters (walters@lowegrahamjones.com)
10              Mitchell West (west@lowegrahamjones.com)
                Lowe Graham Jones
11              1325 Fourth Ave. Suite 1130
12              Seattle, WA 98101

13              Executed on the 3rd day of April 2024, at Seattle, Washington.
14

15                                                            s/ Heidi B. Bradley
                                                       Heidi B. Bradley, WSBA No. 35759
16                                                     Bradley Bernstein Sands LLP
17                                                     2800 First Avenue, Suite 326
                                                       Seattle, WA 98121
18                                                     Telephone: 206.337-6551
19                                                     E-mail: hbradley@bradleybernstein.com

20                                                     Attorneys for Defendant Microsoft Corp.
21

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